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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


    DAVID FIGUEROA                                        CIVIL NO.
    Plaintiff
                                                          DAMAGES; REQUEST FOR
    v.                                                    ORDER FOR INJUNCTIVE RELIEF


    CONSEJO DE TITULARES DEL
    CONDOMINIO THE EXECUTIVE
    TOWER; BANCO COOPERATIVO DE
    PUERTO RICO; FULANO DE TAL 1-
    100
    Defendants




                                   NOTICE OF REMOVAL

TO THE HONORABLE COURT:

         COMES NOW, the defendant Banco Cooperativo de Puerto Rico, Inc. (“BCPR” or

“Banco”), through the undersigned attorney, and respectfully States, Alleges and Prays:

                                       INTRODUCTION

         On May 28, 2021, plaintiff David Figueroa, filed the case captioned David Figueroa v Consejo

de Titulares del Condominio The Executive Tower, et al, Civil No. SJ2021CV03293, before the Puerto

Rico Court of First Instance, Superior Court of San Juan in the Commonwealth of Puerto Rico.
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       The plaintiff's complaint is an action governed by the provisions of Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181, et seq (A.D.A.). Remedy is sought under

42 U.S.C. §12188. Plaintiff further invokes request for remedy under the provisions of the

Rehabilitation Act of 1973, Section 504, 29 U.S.C. § 701 (R.A.). See Exhibit A (Certified

Translation of the Complaint).

       On June 30, 2021, BCPR received notice of the complaint by way of service of

summons. See Exhibit B (Summons).

       Pursuant to 28 U.S.C. §§ 1441 and 1446, BCPR hereby removes the Complaint from

the State court. As will be discussed below, this district court has original jurisdiction over the

complaint pursuant to 28 U.S.C. § 1331, because the case of reference presents a Federal

Question. Moreover, this notice of removal has been timely filed in compliance with all

applicable procedures.

       BCPR has sought and secured consent from co-defendant Consejo de Titulares del

Condominio The Executive Tower.

                                           Discussion

A. Federal Question


       1.Removal: 28 U.S.C. § 1331 grants jurisdiction to this Court of "all civil actions arising

under the Constitution, laws or treatise of the United States." As indicated above, Plaintiff seeks

injunctive relief against defendants for alleged violations to the ADA. Plaintiff's claims against

BCPR consequently arise under the laws of the United States, which brings them within the scope
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of this Court's federal question jurisdiction. This allows removal under the provisions of 28 U.S.C.

§ 1441(a).

       2 . State court pleadings: In accordance with 28 U.S.C. § 1446(a), BCPR has attached

as exhibits to this notice of removal copies of the documents with which it was served. This

includes a certified translation of the Complaint and the summons served on BCPR.

       3. Notice to adverse parties: Furthermore, BCPR certifies that on this same date, it has

sent a copy of this notice of removal by mail to Plaintiff and Co-Defendant, through their

attorneys, and that it has filed a copy of the same with the clerk of the Puerto Rico Court of

First Instance, San Juan Superior Court in accordance with 28 U.S.C. § 1446(d).

       4. Non-Waiver of Defenses: By removing this action from the Commonwealth of

Puerto Rico's Court of First Instance, San Juan Superior Court, defendant does not waive any

defenses available to it. Furthermore, by removing this action from the Commonwealth of

Puerto Rico's Court of First Instance, San Juan Superior Court, defendant does not admit any

of the allegations contained in Plaintiff's Complaint.


        WHEREFORE, BCPR gives notice of removal of the complaint filed in Civil Case

No. SJ2021CV03293, before the Puerto Rico Court of Instance, San Juan Superior Court,

pursuant to 28 U.S.C. §§ 1441 and 1446.

                                      Certificate of Filing

        WE HEREBY CERTIFY that on this same date, we electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system and sent notification by regular mail to

José Carlos Vélez Colón, 421 Avenida Muñoz Rivera #205, San Juan, PR 00918.
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RESPECTFULLY SUBMITTED.

In Guaynabo, Puerto Rico, this 30th day of July, 2021.

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